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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION


                                 )
STATE OF FLORIDA,                )
                                 )
    Plaintiff,                   )
                                 )
    v.                           )    Civil Action No. 3:21-cv-01066
                                 )
The UNITED STATES OF             )
AMERICA, et al.,                 )
                                 )
    Defendants.                  )
                                 )



             MEMORANDUM OF LAW IN SUPPORT OF
         DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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                                  INTRODUCTION

      The “federal power to determine immigration policy is well settled.” Arizona

v. United States, 567 U.S. 387, 395 (2012). Indeed, a “principal feature” of the

immigration enforcement system that Congress codified in the Immigration and

Nationality Act (INA), 8 U.S.C. 1101 et seq., is the “broad discretion exercised by

immigration officials.” Id. at 395-96. This system reflects the practical reality that

officials must prioritize the use of finite resources.

      Overlooking these legal and practical realities, Florida asks this Court to

second-guess discretionary decisions by the Department of Homeland Security

(DHS) about how to enforce immigration law most effectively and efficiently.

Florida challenges Defendants’ Parole Plus Alternatives to Detention (Parole+ATD)

policy, which provides guidance on how immigration officers are to use their

discretionary parole authority under 8 U.S.C. § 1182(d)(5) in certain limited

circumstances, and a purported generalized “non-detention” policy, which Florida

asserts violates the INA.

      This Court should decline Florida’s invitation to undermine the principles of

federalism and separation of powers upon which the U.S. constitutional system is

based. Florida lacks Article III standing because it cannot identify any direct injury

caused by the challenged practices. Regardless, Florida’s challenges to Parole+ATD

and the alleged “non-detention” policies are nonjusticiable under the Administrative
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Procedure Act (APA). In addition, the record demonstrates that the alleged non-

detention policy does not exist and that the Parole+ATD policy is consistent with

the INA. Accordingly, the Court should grant summary judgment to Defendants on

all claims.

                                BACKGROUND

Legal Framework

      The Executive Branch has broad constitutional and statutory power over the

administration and enforcement of the nation’s immigration laws. Knauff v.

Shaughnessy, 338 U.S. 537, 543 (1950); see, e.g., 6 U.S.C. § 202(5); 8 U.S.C.

§ 1103(a)(3).

      Florida challenges Defendants’ detention and release of “applicants for

admission”— noncitizens seeking to enter the United States at ports of entry, or who

have entered between ports of entry without authorization. See 8 U.S.C. §

1225(a)(1). Applicants for admission who are inadmissible because they lack valid

entry documentation may be subject to expedited removal and detention pending

removal. §§ 1225(b)(1)(A); 1182(a)(7). Those who demonstrate a credible fear of

persecution “shall be detained” for consideration for asylum. § 1225(b)(2)(B)(ii).

The INA further specifies that others who are not placed into expedited removal and

are deemed “not clearly and beyond a doubt entitled to admission . . .” shall be

detained for removal proceedings under 8 U.S.C. § 1229a. See id. § 1225(b)(2)(A).


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      However, DHS also “may release” on bond or conditional parole pending a

removal determination those apprehended after crossing the border between ports of

entry without authorization, except that DHS may not release noncitizens with

certain qualifying criminal convictions. 8 U.S.C. § 1226(a), (c)(2). DHS may parole

any applicant for admission into the United States “temporarily under such

conditions as he may prescribe only on a case-by-case basis for urgent humanitarian

reasons or significant public benefit[.]” Id. § 1182(d)(5)(A). Finally, the Government

may not indefinitely detain individuals it cannot realistically remove, Zadvydas v.

Davis, 533 U.S. 678, 699 (2001), and likewise may detain noncitizens for civil

immigration offenses only “for the limited period necessary for their removal

proceedings.” Demore v. Kim, 538 U.S. 510, 526 (2003).

Factual and Procedural Background for Parole+ATD

      For a brief period, beginning in March 2021, due to the strain of an influx of

migrants on processing resources, U.S. Customs and Border Protection (CBP)

released noncitizens with a Notice to Report (NTR) to report to U.S. Immigration

and Customs Enforcement (ICE) within a specified timeframe to receive their

charging documents. ECF 87-1, SAR0162. In November 2021 guidance, DHS ended

the use of NTRs, and in its place authorized the use of Parole+ATD. ECF 87-1,

SAR0162. Parole+ATD combines the conditional release of noncitizens on parole,

where appropriate, with enrollment in one of ICE’s Alternative To Detention (ATD)


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programs to better ensure accountability after release. ECF 87-1, SAR0002-0004,

0162-0163. As the November 2021 guidance explained, enrollment in Parole+ATD

is significantly faster than immediately fully processing a noncitizen for removal

proceedings, and helps avoid serious overcrowding at immigration facilities that

may pose health and safety risks to both migrants and staff. ECF 87-1, SAR0002-

0003.

        On July 18, 2022, DHS rescinded the November 2021 guidance that initially

authorized reliance on Parole+ATD and provided new guidance that more clearly

specified and limited its use. ECF 87-1, SAR0001. Under the current guidance,

Parole+ATD is available only for individual Border Patrol (BP) sectors following a

weekly determination by CBP leadership under specific criteria that threshold

overcapacity exists. ECF 87-1, SAR0003.

        The threshold criteria merely allow CBP to authorize use of Parole+ATD.

Even when those threshold criteria are met, BP agents still must assess “each

individual noncitizen … on a case-by-case individualized basis to determine whether

he or she is eligible for parole based on an urgent humanitarian reason or whether

there is a significant public benefit.” ECF 87-1, SAR0003-0004; 8 U.S.C.

§ 1182(d)(5)(A). Examples of significant public benefits that may justify parole

where applicable are “disease-mitigation” or the prevention of overcrowding in

facilities that jeopardizes health and safety. ECF 87-1, SAR0002-0003.


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      Through a case-by-case analysis, CBP determines the appropriate processing

pathway for a particular noncitizen. If parole is appropriate, the noncitizen is referred

to ICE for enrollment in its ATD program and a case-by-case determination of the

kind of technology and supervision that is necessary to ensure compliance with

release conditions, court appearances, and removal orders. ECF 87-1, SAR0002.

Responding to a growing processing backlog, the current Parole+ATD guidance

authorizes CBP to assist ICE with processing of the parolees’ Notice to Appears

(NTAs) to place them into removal proceedings; these NTAs are served on parolees

either when they check into regional DHS offices near the addresses they have

identified or via mail. ECF 87-1, SAR0004, 0165-69.

Undisputed Material Facts

      Florida challenges Parole+ATD and an alleged “non-detention policy” under

the APA and Constitution, asserting that these policies impose costs on six of its

agencies that serve noncitizens in Florida. ECF 74 ¶¶ 70-75. None of those agencies,

however, can show that it has spent any funds or provided any services to applicants

for admission at the border released by federal authorities. ECF 87-3, 35:15-23,

36:20-37:5, 37:6-14, 38:13-40:3, 70:20-71:1; ECF 87-4, 31:16-19, 32:9-16; ECF 87-

5, 53:18-54:1, 54:16-55:14; ECF 87-6, 32:22-33:13; ECF 87-7, 36:5-13, 37:2-38:1;

ECF 87-8, 25:3-7, 26:3-6, 29:18-19, 48:5-23, 51:23-52:2, 67:16-23, 70:17-25; ECF

87-9, 32:15-34:13, 71:11-18, 74:24-75:5, 84:23-85:3; ECF 87-10, 43:16-44:12,


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57:14-58:13, 75:25-76:4. In fact, Florida actually nets revenue from issuing forms

of identification to noncitizens because it charges more in fees than it spends on the

identified verification costs. ECF 87-10, 58:5-8, 59:12-14, 43:3-5.

      As for the alleged “non-detention policy,” the evidence shows it does not

exist. DHS makes detention and conditional release decisions pursuant to the

statutory standards laid out in 8 U.S.C. §§ 1182(d)(5)(A) and 1226 and based on

case-by-case assessments guided by longstanding guidance issued under multiple

prior administrations and on-the-ground application of individualized facts and law-

enforcement considerations. ECF 87-11, 47:17, 96:20-98:24, 150:5-18; ECF 87-13,

30:16-31:20. The increased number of releases under 8 U.S.C. §§ 1182(d) or 1226(a)

is due not to a policy directive to release more noncitizens but rather to several

factual circumstances, including a significant increase in migration by noncitizens

whom the United States is currently unable to remove (because, for example, refusal

of their countries of origin to accept removals) and overcrowding concerns and

disease risks in detention facilities. ECF 87-11, 150:19-151:24, 198:13-199:7,

201:2-20; ECF 87-13, 59:23-60:5.

      In response to increased flows, CBP has also built additional holding facilities

and has developed technology to permit rapid processing in the field. ECF 87-14,

120:1-121:1, 245:13-247:19. ICE has repurposed three former family detention

centers to house single adults. ECF 87-13, 140:4-142:2, 147:5-7. The use of these


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facilities is a pragmatic response to the greater volume of single adults currently

arriving at the border, as well as the comparatively high expense and significant

space and length limitations on detaining family units. ECF 87-13, 141:7-142:2;

ECF 87-14, 30:11-31:4; ECF 87-12, 67:6-20; 52:15-21, 54:21-55:4; ECF 87-15,

12:12-13:3. In those situations where detention of a member of a family unit is

appropriate, such as for national-security or public-safety concerns, DHS detains that

individual and releases the other family members, albeit with protections to ensure

communication among family members and timely reunification when warranted.

ECF 87-16, 111:1-112:10; ECF 87-14, 220:14-221:11.

      Additionally, DHS continues to consider alternatives to detention because the

influx of noncitizens at the southwest border has long exceeded all detention space

available to DHS. Parole coupled with accountability measures, such as electronic

monitoring and other ATD, remains a critical aspect of DHS’s management of its

resources. The President’s budget for FY 2022 and FY 2023 requested significantly

more funding than previous years for ATD. ECF 87-14, 140:1-12. DHS can, per

dollar spent, monitor and account for tenfold or more noncitizens via ATD compared

to traditional detention. ECF 87-13, 36:15-37:9; ECF 87-12, 143:3-16. DHS officers

assign detention or ATD as appropriate to noncitizens after considering the

likelihood of absconding, threat to national security or public safety, likelihood of

being ordered removed, and ability to effect that removal. ECF 87-14, 115:15-22;


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ECF 87-11, 149:2-18; 188:17-189:12; 199:22-200:11; ECF 87-16, 68:10-69:3; ECF

87-13, 30:22-32:10. Rates of noncitizen compliance under ATD are “very high”:

93.2% for single adults and 82% for family units for the first part of FY 2022. ECF

87-13, 142:16-19; ECF 87-1, SAR0255, 0272.

                             STANDARD OF REVIEW

      Nondetention Policy Claims. Summary judgment should be granted if the

pleadings, depositions, affidavits, and other evidence show that no genuine issue of

material fact exists, and the moving party is entitled to judgment as a matter of law.

Fed. R. Civ. P. 56(c); see also Celotex Corp. v. Catrett, 477 U.S. 317, 323-25 (1986).

The party moving for summary judgment bears the initial responsibility of

demonstrating the absence of a genuine issue of material fact. Celotex, 477 U.S. at

323. Once the moving party has met its burden, Rule 56 requires the nonmoving

party to present specific facts sufficient to create a genuine issue for trial. Id. at 324.

“[T]here is no genuine issue for trial ‘[w]here the record taken as a whole could not

lead a rational trier of fact to find for the non-moving party[.]’” Mileski v. Gulf

Health Hosps., Inc., No. 14-0514-C, 2016 WL 1295026, at *12 (S.D. Ala. Mar. 31,

2016).

      Parole + ATD Claims. Under APA review, “the material facts are those facts

present in the agency’s administrative record” and the Court’s function on summary

judgment “is to determine whether or not as a matter of law the evidence in the


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administrative record permitted the agency to make the decision it did.” Sea Turtle

Conservancy v. Locke, No. 1:09-CV-259-SPM-GRJ, 2011 WL 13227945, at *2

(N.D. Fla. July 5, 2011). “[T]he task of the reviewing court is to apply the

appropriate ... standard of review ... to the agency decision based on the record the

agency presents to the reviewing court.” Pres. Endangered Areas of Cobb’s Hist.,

Inc. v. U.S. Army Corps of Engineers, 87 F.3d 1242, 1246 (11th Cir. 1996).

                                   ARGUMENT

       The Court should grant Defendants’ summary judgment on all claims. The

Court should dismiss all of Florida’s claims on standing, and justiciability grounds.

Florida also lacks a cognizable cause of action under the APA. Should the Court

reach the merits, there is no genuine dispute of material fact regarding the alleged

nondetention policy—there is no evidence of such a policy, let alone one that

violates the INA or the Constitution—and the administrative record provides ample

basis to reject Florida’s challenges to Parole+ATD.

I.     Florida Lacks Standing to Bring This Case.

       A case or controversy exists only if the plaintiff has standing—that is, only if

the plaintiff has suffered an injury in fact that is traceable to the challenged action

and would likely be redressed by judicial relief. TransUnion LLC v. Ramirez, 141 S.

Ct. 2190, 2203 (2021). An Article III injury requires the invasion of a “legally and

judicially cognizable” interest, which means the dispute must be of the sort


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“traditionally thought to be capable of resolution through the judicial process.”

Raines v. Byrd, 521 U.S. 811, 819 (1997). A “plaintiff must demonstrate standing

for each claim he seeks to press” and “each form of relief sought.” DaimlerChrysler

Corp. v. Cuno, 547 U.S. 332, 352 (2006).

    A. States May Not Sue the Federal Government Based on the Incidental
       Effects of Federal Action.

      A state may sue the federal government when the state is the object of the

challenged federal action. See Department of Commerce v. New York, 139 S. Ct.

2551, 2565 (2019). But a state may not bring suit simply because a federal policy

has incidental effects on the state; it must have suffered a “direct injury” at the hands

of the federal government. Florida v. Mellon, 273 U.S. 12, 18 (1927).1 Indirect

financial harm to the state’s coffers or economy is insufficient. Id.; cf. Wyoming v.

Oklahoma, 502 U.S. 437, 448 (1992) (no standing “where the claim was that actions

taken by [federal] agencies had injured a State’s economy and thereby caused a

decline in general tax revenues”). These principles direct the outcome here.

      First, Florida’s claimed harm is in essence the simple fact that noncitizens

released pending removal proceedings may settle there and use public services.

However, this possibility has always been permitted by 8 U.S.C. §§ 1182(d)(5),

1226(a), and their implementing regulations, which authorize the Government to


1
 Whether states have standing in such circumstances is currently pending before the
Supreme Court. See United States v. Texas, No. 22-58.
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release noncitizens, who are then free to settle in any state. Florida does not

challenge these longstanding provisions here (and could not do so due to the time

bar, see 28 U.S.C. § 2401(a)). Florida thus lacks cognizable harm.

      Florida alleges that the Parole+ATD policy and the nonexistent

“nondetention” policy have increased its noncitizen population and therefore that

Florida will expend more resources on noncitizens than it otherwise would, had the

policy not been in place. ECF 74 ¶¶69-76. Even if that were true—and as explained

below, it is not—it would not give rise to standing because the challenged policies

do not instruct Florida what to do, do not operate on Florida directly, and do not

deprive Florida of any legal rights. See Summers v. Earth Island Inst., 555 U.S. 488,

493-94 (2009). A state “has not suffered an injury in fact to a legally cognizable

interest” when “a federal government program is anticipated to produce an increase

in that state’s population and a concomitant increase in the need for the state’s

resources.” Arpaio v. Obama, 27 F. Supp. 3d 185, 202 (D.D.C. 2014), aff’d, 797

F.3d 11 (D.C. Cir. 2015). Such an injury is a non-cognizable generalized grievance.

Hollingsworth v. Perry, 570 U.S. 693, 706 (2013). Accepting it “would permit nearly

all state officials to challenge a host of Federal laws simply because they disagree

with how many—or how few—Federal resources are brought to bear on local

interests.” Arpaio, 27 F. Supp. 3d at 202.




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        In addition, Florida lacks standing because a litigant “lacks a judicially

cognizable interest in the prosecution or nonprosecution of another.” Linda R.S. v.

Richard D., 410 U.S. 614, 619 (1973). Florida’s claims are premised on its

contention that the government is not initiating removal proceedings against

individuals or detaining them when in Florida’s view it should be. Such claims are

foreclosed under settled law. See Sure-Tan, Inc. v. NLRB, 467 U.S. 883, 897 (1984)

(third parties “have no judicially cognizable interest in procuring enforcement of the

immigration laws”).

   B.    The Evidence Does Not Show Injury, Causation, or Redressability.

        Even assuming Florida’s legal theory of injury is cognizable, the undisputed

evidence shows no actual injury to Florida caused by the challenged policies. Florida

alleges that six state agencies are harmed by the presence of applicants for

admissions who were paroled or released by the federal government at the southwest

border: Department of Education, Department of Corrections, Department of

Economic Opportunity, Department of Children and Families, Agency for Health

Care Administration, and Department of Highway Safety and Motor Vehicles. ECF

87-2. However, Florida fails to provide any evidence showing concrete and

particularized harm to these agencies. See Lujan v. Defs. of Wildlife, 504 U.S. 555,

562 (1992).




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       Florida’s alleged harms stem from the unsubstantiated allegation that

additional releases of noncitizens at the border increase the population of Florida.

But Florida merely asserts that it provides social benefits to state residents and then

speculates that costs will increase if its population increases. Indeed, months of

discovery demonstrates that Florida cannot quantify alleged injuries caused by the

presence of noncitizens who were released subject to the challenged practices.

Florida thus cannot demonstrate any actual or imminent injury caused by those

policies. Id.

       Likewise, Florida’s alleged injuries—even if found to be more than mere

speculation—are not traceable to the challenged policies because they would be

caused, if at all, by third parties. See id. Florida’s whole case is based on the decision

of noncitizens released at the southwest border deciding to move to Florida. But

Florida cannot show the challenged conduct has a “determinative or coercive effect

upon the action of someone else.” Bennett v. Spear, 520 U.S. 154, 169 (1997). Thus,

the alleged injuries, assuming they occur, would be the result of “unfettered choices

made by independent actors,” and not the challenged policy. Lujan, 504 U.S. at 562.

Where predictions are so uncertain, [the Court] is prohibited from finding standing.”

Arpaio v. Obama, 797 F.3d 11, 22 (D.C. Cir. 2015); see Arizona v. Biden, 40 F.4th

375, 387 (6th Cir. 2022).




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        i.   Department of Education (DOE)

      For DOE’s alleged harm, Florida provided the amount it spends per student

and described the federal funding it receives for each “immigrant child” enrolled in

school in Florida. ECF 87-2. The number of “immigrant students,” however, is not

an accurate indicator of the injury alleged in this case, as Florida defines an

“immigrant student” as any student born abroad and educated outside the United

States in the last three academic school years. ECF 87-3, 38:1-12, 68:21-69:11. The

“immigrant student” label thus has no relation to that student’s citizenship status

generally, let alone whether that student is an applicant for admission whose

conditional release is challenged in this case. Id., 38:13-16.

      So, despite putting forward the number of “immigrant students” as indicative

of its harm, DOE has no way of knowing a student’s immigration status, or whether

they were paroled. Id., 35:15-23, 36:20-37:5 38:13-20, 38:24-39:17. In fact, DOE

cannot articulate any specific harm attributable to the practices challenged, which

concern only the release of applicants for admission at the border, nor show a single

dollar is spent on any specific type of noncitizen students. Id., 38:21-40:3, 37:6-14,

70:20-71:1. If Florida cannot quantify its harm, it cannot establish standing, which

requires the evidence of harm to be “concrete and particularized” and have a “causal

connection…to the conduct complained of…” Lujan, 504 U.S. at 560-61.




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        ii.   Department of Corrections (DOC)

       DOC’s alleged harm is paying for the cost of incarcerating what it terms

“criminal aliens.” ECF 87-2. While Florida claims to identify the number of

“criminal aliens” that the state is eligible to receive federal reimbursement for,2 id.,

DOC cannot say whether any noncitizen inmates were conditionally released

pending removal proceedings, and thus are covered by this litigation. ECF 87-4,

31:16-19, 32:9-16. Crucially, DOC cannot show how much of the money spent on

noncitizen inmates is spent on noncitizens conditionally released pursuant to the

policies it is challenging. ECF 87-5, 53:18-54:1, 54:16-55:14. Again, without

demonstrating a concrete injury, this is not sufficient to establish standing. Lujan,

504 U.S. at 560-61.

       iii.   Department of Economic Opportunity (DEO)

       DEO alleges harm via its Reemployment Assistance Program, which provides

temporary wage replacement benefits to certain unemployed individuals, including

noncitizens. ECF 87-2. However, aside from citizenship status generally, DEO has

no way of knowing if an individual was paroled or released pursuant to a challenged

practice by the federal government, see ECF 87-6, 32:22-33:13, particularly since


2
  Just as with DOE, the number of “criminal alien” inmates is not indicative of injury
related to the policies challenged in this case. Only certain noncitizen inmates are eligible
to be counted for this reimbursement. ECF 87-5, 55:20-56:24. Whether the inmate is one
that was paroled or released pending removal proceedings is not a factor taken into
consideration for federal funding. Id. at 56:25-57:5.
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many of those paroled or released would not be eligible for work authorization in

any event, see 8 U.S.C. § 1226(a)(3). This is insufficient to establish standing

because the alleged harm cannot be concretely identified or traced to the challenged

conduct. See Lujan, 504 U.S. at 560-61.

       iv.   Agency for Health Care Administration (AHCA)

      AHCA claims harm from providing Medicaid reimbursement for “emergency

medical services” used by “undocumented aliens.” ECF 87-2. However, AHCA has

no records indicating the immigration status of noncitizens, and thus cannot say how

many—if any—applicants for admission released under the challenged practices

received emergency medical care they were unable to pay for. ECF 87-7, 36:5-13,

37:2-38:1. In fact, AHCA conceded the possibility that no noncitizens released under

the challenged policies received emergency medical services. Id. Florida has not put

forward any evidence of actual harm. See Lujan, 504 U.S. at 560-61.

       v.    Department of Children and Families (DCF)

      DCF alleges four areas of injury: economic and public assistance benefits,

substance abuse and mental health treatment programs, child welfare services, and

domestic violence services. ECF 87-2. But DCF has not demonstrated injury with

respect to any of them.

      First, noncitizens are not eligible for the economic assistance benefits unless

they have been on parole for five years. ECF 87-8, 25:3-7, 26:3-6, 29:18-19; ECF


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87-9, 32:15-34:13. Because Florida only challenges practices instituted after the

Administration changed on January 20, 2021, Florida cannot allege harm based on

those services.

      Second, for the remaining services—domestic violence, child welfare, and

substance abuse and mental health treatment—DCF does not collect the immigration

status of individuals using those services, so Florida is unable to identify any

specified costs or harm from noncitizens. ECF 87-8, 51:23-52:2, 48:5-23, 70:17-25.

      Finally, DCF cannot say whether any of the noncitizens using their services

were paroled or released pursuant to the challenged practices; thus, Florida is unable

to identify a traceable, objective injury due to these policies. ECF 87-8, 67:16-23;

ECF 87-9, 71:11-18, 74:24-75:5, 84:23-85:3; see Lujan, 504 U.S. at 560-61.

       vi.   Department of Highway Safety and Motor Vehicles (HSMV)

      HSMV claims injury from providing driver’s licenses and identification cards

to noncitizens in Florida. ECF 87-2. Specifically, HSMV claims it must verify a

noncitizen’s immigration status with DHS’ verification system, which costs Florida

a monthly flat fee to access and a nominal cost for each verification. Id.

      However, only certain noncitizens who can prove a “lawful” immigration

status are eligible to obtain a state identification. ECF 87-10, 43:16-44:12. HSMV

cannot say how many, if any, of those noncitizens submitting documentation are

applicants for admission at the border released pursuant to the practices challenged


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here. Id., 57:14-58:13. Nor can HSMV quantify any harm suffered from the federal

government’s release practices at the border. Id., 75:25-76:4.

      Moreover, it ultimately does not cost Florida anything to provide such

identification. Instead, HSMV actually generates significant revenue by issuing IDs

to noncitizens. Florida is charged $25 a month to access the SAVE system and 50

cents for each verification, for approximately $372,000 in costs for issuing

identifications to noncitizens for the period of January 2020 to March 2022. Id.,

58:5-8. However, by charging $25 for each identification card (id. at 59:12-14), and

$48 for each driver’s license (id. at 43:3-5), Florida made between $18.6 million to

$35.8 million in profit during that same period from serving noncitizens alone.

      Thus, the undisputed evidence fails to establish Florida’s standing, as Florida

cannot demonstrate a concrete injury that is traceable to the challenged practices and

redressable in this forum.

   C. Florida’s Claims are not Redressable.

      Finally, Florida’s challenges to the alleged “non-detention” policy are not

redressable for the additional reason that they are nonjusticiable political questions.

Florida’s claims boil down to its disagreement with how Defendants utilize various

INA release mechanisms, and space and funding for prioritizing detention space.

Florida seeks to “require[] the Secretary to enforce the immigration laws” according

to Florida’s wishes and to “change his priorities for” detention of noncitizens. Texas


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v. United States, 809 F.3d 134, 169 (5th Cir. 2015). Likewise, Florida seeks to

“substitute [its] judgment” for that of the federal political branches in determining

which noncitizens should be detained and which released, and how best to fund and

deploy enforcement resources, and Florida would “have the judiciary formulate or

rewrite immigration policy” to that end. Id. (quoting Mathews v. Diaz, 426 U.S. 67,

84 (1976)). As the Eleventh Circuit has explained, however, “Congress intended

whether the [Executive Branch] is adequately guarding the borders of the United

States to be ‘committed to agency discretion by law’ and, thus, unreviewable,” and

challenges asserting such claims invoke fundamentally “political questions.” Chiles

v. United States, 69 F.3d 1094, 1096, 1097 (11th Cir. 1995). Here, there are no

judicially discoverable or manageable standards for determining how much or what

type of detention (which is funded by Congress) is enough to safeguard the country

and facilitate immigration processing, how many applicants for admission ought as

a matter of policy be paroled or otherwise released, and how much money should be

sought or provided for immigration enforcement and for what operations in

particular. See, e.g., Baker v. Carr, 369 U.S. 186, 217 (1962); Chiles, 69 F.3d at

1096-1097. Accordingly, the court lacks authority to “fashion[] a remedy”

concerning the correct amount of releases or detentions of individual noncitizens,

and these claims are “nonjusticiable.” Chiles, 69 F.3d at 1097.




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        To the extent Plaintiff seeks injunctive relief, its claims are additionally not

redressable because 8 U.S.C. § 1252(f)(1) prohibits lower courts from “order[ing]

federal officials to take or to refrain from taking actions to enforce, implement, or

otherwise carry out the … statutory provisions” at issue here. Garland v. Aleman

Gonzalez, 142 S. Ct. 2057, 2064 (2022).

II.     Florida Cannot Obtain Review Under the APA.

        Florida cannot obtain review under the APA because it challenges agency

activities that (1) do not constitute final agency action; (2) are “committed to agency

discretion by law,” and (3) do not fall within the applicable statutory zone of

interests.

      A. Final Agency Action

        Florida does not challenge “final agency action.” 5 U.S.C. § 704. Agency

action is final if it determines legal “rights or obligations.” Bennett, 520 U.S. at 178.

Agency action that “does not itself adversely affect” a party but instead “only affects

his rights adversely on the contingency of future administrative action” is “nonfinal.”

Nat’l Parks Conservation Ass’n v. Norton, 324 F.3d 1229, 1237 (11th Cir. 2003).

Neither the alleged “non-detention policy” nor Parole+ATD satisfies this rule.

        First, Florida has not identified any actual “non-detention policy.” Infra, § III.

Instead, Florida challenges an amalgam of agency operations and individual release

determinations, not any regulation, rule, or policy statement. Id. These operational


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decisions do not represent an “agency action” cognizable under the APA, much less

a “final” one. Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 891 (1990). Courts cannot

“postulat[e] the existence of an agency decision wholly apart from any ‘agency

statement of general or particular applicability . . . designed to implement’ that

decision.” Texas v. Biden, 142 S. Ct. 2528, 2545 (2022) (quoting 5 U.S.C. § 551(4)).

Applying these precedents, a court recently rejected an identical challenge to

Defendants’ alleged “mass-parole and non-detention policies,” holding that Arizona

could not challenge an “amalgam of release decisions” or “some generalized and

amorphous conception of Defendants’ detention and parole policies” under the APA

because these did not provide the requisite “agency action.” Brnovich v. Biden, No.

CV-23-01568-PHX-MTL, 2022 WL 4448322 at *10, 12 (D. Ariz. Sept. 23, 2022).

      Second, the Parole+ATD memorandum neither creates legal rights nor

imposes legal obligations. See Norton, 324 F.3d at 1236; ECF 87-1, SAR0002-0004.

The Parole+ATD program does not require DHS officers to take any specific action.

The officers retain discretion to detain or parole noncitizen on a “case-by-case

basis,” and nothing in the guidance mandates a specific result in any circumstance.

ECF 87-1, SAR0003-0004. Because agency officials are thus “free to exercise

discretion” to grant or deny parole in particular cases, the July 2022 memorandum

does not constitute final agency action. See Jean v. Nelson, 711 F.2d 1455, 1481




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(11th Cir. 1983), aff’d, 472 U.S. 846 (1985) (Jean I); Florida v. United States, 540

F. Supp. 3d 1144, 1157 (M.D. Fla. 2021), vacated on other grounds.

   B.    Committed to Agency Discretion

        The practices Florida challenges are committed to agency discretion by law.

5 U.S.C. § 701(a)(2).

        First, the various operational decisions that Florida refers to as the “non-

detention policy,” infra, § III, all involve the same “complicated balancing of a

number of factors which are peculiarly within [the agency’s] expertise” and is

therefore committed to agency discretion. Heckler v. Chaney, 470 U.S. 821, 831

(1985). Indeed, such determinations encompass, inter alia, “the possibility that [a

noncitizen] may abscond to avoid being returned to his or her home country,”

“priorities for the use of limited detention space,” whether detention is in the public

interest, and of course, the statutory requirements that parole be for “urgent

humanitarian reasons or significant public benefit.” See Jeanty v. Bulger, 204 F.

Supp. 2d 1366, 1382 (S.D. Fla. 2002), aff’d, 321 F.3d 1336 (11th Cir. 2003); 8

U.S.C. § 1182(d)(5).

        Second, the decision whether or when to commence removal proceedings or

to release noncitizens on parole pursuant to Parole+ATD is committed to agency

discretion. 5 U.S.C. § 701(a)(2). The choice to refrain from pursuing enforcement

actions is also “generally committed to an agency’s absolute discretion.” Heckler,


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470 at 831. Such decisions “often involve[] a complicated balancing of a number of

factors which are peculiarly within [the agency’s] expertise,” including “whether

agency resources are best spent on this violation or another … and, indeed, whether

the agency has enough resources to undertake the action.” Id.

      Florida contends that section 1225(b) strictly requires DHS to detain all

amenable noncitizens. The statute, however, imposes no unconditional duty. Infra,

§ III.A. Although section 1225 uses the word “shall,” the Supreme Court has

instructed that the “deep-rooted nature of law-enforcement discretion” persists “even

in the presence of seemingly mandatory legislative commands.” Town of Castle

Rock v. Gonzales, 545 U.S. 748, 761 (2005). In any event, nothing in the statute

evinces a “stronger indication” of intent to impose a “true [detention] mandate” on

the Executive. Id.; accord Arizona, 40 F.4th at 391. If anything, the opposite is true,

given the INA’s provision of parole for section 1225(b) detainees.

      This understanding is bolstered by precedent discussing the Government’s

charging authority under section 1225. DHS has “broad discretion” to decide

“whether it makes sense to pursue removal at all.” Arizona, 567 U.S. at 396; see

Crane v. Johnson, 783 F.3d 244, 249 (5th Cir. 2015) (“[Section 1225] does not limit

the authority of DHS to determine whether to pursue the removal of the

immigrant.”); Reno v. AADC, 525 U.S. 471, 483–84 (1999). Here, the evidence

shows Defendants are choosing to pursue removal of noncitizens in Parole+ATD;


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all that is at issue is the timing of serving NTAs. ECF 87-12, 125:18-128:10. As

Defendants have discretion to not pursue removal at all, Arizona, 567 U.S. at 396,

this discretion necessarily includes the timing of that action, and Defendants’ timing

decision at issue here is even more forcefully committed to agency discretion by law.

       Third, regarding conditional release from detention, the principle that

seemingly mandatory statutory language does not supplant inherent enforcement

discretion applies equally to the phrase “shall detain” in section 1225(b). See Castle

Rock, 545 U.S. at 761.3 “Congress has delegated remarkably broad discretion to

executive officials under the [INA]” and its grants of authority “are nowhere more

sweeping than in the context of parole.” Garcia-Mir v. Smith, 766 F.2d 1478, 1484

(11th Cir. 1985); see Jean v. Nelson, 727 F.2d 957, 966 & n.8 (11th Cir. 1984), aff’d,

472 U.S. 846 (1985) (Jean II). Further underscoring the unreviewable discretion

inherent in parole, courts lack jurisdiction to review parole and bond decisions under

8 U.S.C. §§ 1226(e), 1252(a)(2)(B)(ii). See e.g., Alonso-Escobar v. USCIS Field Off.

Dir. Miami, Fla., 462 F. App’x 933, 935 (11th Cir. 2012) (unpublished); Jeanty, 204

F. Supp. 2d at 1382.




3
 Florida’s reading of section 1225(b) is unprecedented and infeasible. Congress has never
appropriated the resources to detain every applicant for admission. ECF 87-12, 101:4-13.
An order requiring DHS to detain all applicants for admission would completely
overwhelm DHS’s capacity, and compromise DHS’s ability prioritize detention space for
national-security or public-safety threats over other applicants for admission. Infra § III.A.
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       Florida argues that Defendants cannot have any priorities for the operation of

its statutorily authorized discretion. But Congress has said otherwise, authorizing

DHS and its components to establish “immigration enforcement policies and

priorities.” 6 U.S.C. § 202(5). Indeed, “Congress intended whether the [Secretary]

is adequately guarding the borders of the United States to be committed to agency

discretion by law and, thus, unreviewable.” Chiles, 69 F.3d at 1096. Florida’s efforts

in this case to have the Court second-guess Defendants’ discretionary enforcement

and resource allocation decisions are unreviewable.4

III.   The Non-detention Policy Claims Fail on the Merits.

       In Counts 1, 3, 5, 7, and 8, Florida brings various APA and constitutional

challenges to the alleged “non-detention policy.”

       At the threshold, the undisputed material evidence establishes that there is no

such policy, and the conduct Florida challenges is not cognizable under the APA.

There can be no review under the APA of “abstract decision[s] apart from specific

agency action.” Texas, 142 S. Ct. at 2545; see Brnovich, 2022 WL 4448322 at *10.

This principle is fatal to the “non-detention policy” claims because Florida cannot

point to any evidence of a policy created since January 20, 2021 that provides rules,

guidelines, or preferences for detention or release of noncitizens entering the United


4
  Additionally, Defendants maintain and restate their argument that Florida does not fall
within the statutory zone of interests, ECF 23-1 at 21-22, but recognize that the Court
already ruled on this, ECF 45 at 17-18.
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States (outside of the Parole+ATD program, and the NTR practice it replaced,

separately addressed).

      The evidence has shown that DHS has not communicated or mandated any

new non-detention policy. ECF 87-11, 163:2-164; ECF 87-12, 54:5-16. Instead,

CBP and ICE have continued to make case-by-case detention and conditional release

decisions utilizing the mechanisms available in 8 U.S.C. § 1182(d)(5)(A)

and 1226(a) based on longstanding practice implemented under multiple prior

administrations and informed by common sense, on-the-ground application of law

enforcement principles by the line officers themselves. ECF 87-11, 47:17, 96:20-

98:24; 150:5-18; ECF 87-13, 30:16-31:20.

      Florida’s allegations about “changes” to detention practices are unsupported

and do not address cognizable “agency action[s],” but rather, at best, operational

decisions. See Lujan, 497 U.S. at 891; Norton v. S. Utah Wilderness All., 542 U.S.

55, 66 (2004) (APA does not permit general challenges regarding “compliance with

broad statutory mandates”). CBP, for example, in response to changing migratory

flows, has built additional holding facilities and has developed technology to permit

rapid processing in the field. ECF 87-14 at 120:1-121:1, 245:13-247:19. ICE is

continuously re-evaluating the optimal use of its detention space to meet current

immigration conditions. To respond to the increased number of single adults

encountered at the border, it has repurposed three former family detention centers to


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house single adults instead. ECF 87-13, 140:4-142:2, 147:5-7. This reversible move,

which maximizes the use of those facilities, was a pragmatic and flexible response

to the greater flow of single-adult noncitizens, who are most amenable to expedited

removal, providing for greater throughput. ECF 87-13, 141:7-142:2; ECF 87-14,

30:11-31:4; ECF 87-12, 67:6-20; 54:21-55:4. ICE is continually evaluating and

optimizing its resources. ECF 87-15, 12:12-13:3; ECF 87-12, 52:15-21, 63:7-8.

        In addition, CBP has developed technology to permit on-the-spot processing

in the field to further improve processing times and thus allow greater throughput in

its facilities. ECF 87-14, 120:1-121:1, 245:13-247:19. To the extent there has been

an increase in the number of releases under sections 1182(d)(5)(A) or 1226(a) since

January 20, 2021, this has not been due to an orchestrated top-down policy decision,

but instead is driven by several factual circumstances, including a significant

increase in migration by noncitizens that the United States is currently unable to

remove (because, for example, of a lack of diplomatic relations with their countries

of origin) and overcrowding concerns and attendant disease risks in detention

facilities. ECF 87-11,150:19-151:24, 198:13-199:7, 201:2-20; ECF 87-13, 59:23-

60:5.

        The President’s budget for FY 2022 and FY 2023 requested significantly more

funding than previous years for electronic monitoring and other ATD. ECF 87-14,

140:1-12. ATD yields high compliance rates with court obligations and removal


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orders, ECF 87-13 at 142:16-195—which is ultimately the purpose of detention

pending removal, Dawson v. Asher, 447 F. Supp. 3d 1047, 1050 (W.D. Wash.

2020)—while being more fiscally sustainable. That is, DHS can, dollar for dollar,

ensure the accountability of several times more noncitizens via detention alternatives

such as electronic monitoring, which costs less than $10 per day, than an exclusive

focus on traditional detention, which costs roughly $150 per day per individual. ECF

87-13, 36:15-37:9; ECF 87-12, 143:3-16.

      Even if the Court holds it can review these operational decisions, see supra §

II, they do not support any APA cause of action. The APA provides a waiver of

sovereign immunity only to challenge “agency action,” 5 U.S.C. § 551(13), a term

that does not include agency activities such as building facilities or “operating a

program.” Vill. of Bald Head Island v. U.S. Army Corps of Engineers, 714 F.3d 186,

193 (4th Cir. 2013); see Lujan, 497 U.S. at 890. The undisputed evidence establishes

that there is no “non-detention policy.” Florida’s amalgamation of individual release

decisions and discretionary funding and resource allocation calls are not

challengeable agency actions under the APA. See Lujan, 497 U.S. at 890; Texas, 142

S. Ct. at 2545; Brnovich, 2022 WL 4448322 at *10.




5
 Statistics for FY 2022 through March 2022 show a 93.2% compliance rate for single
adults and 82% for family units. ECF 87-1, SAR0255, 0272.
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      However, as explained below, even assuming arguendo these diverse and

reversible operational developments could be deemed a cohesive and substantive

“non-detention policy,” Florida’s claims nevertheless still fail on the merits.

   A. Count 1 (Violation of Law) and Count 7 (Action Unlawfully Withheld)

      Counts 1 and 7 maintain that the alleged “non-detention policy” is unlawful

because it violates the detention and charging provisions of section 1225(b)(1)-(2)

and the parole provision, 8 U.S.C. § 1182(d)(5)(A). These claims fail both as a

matter of fact and law.

      As an initial matter, the claims are not supported factually.

      First, section 1226, not section 1225(b), governs many or most of the

noncitizen releases Florida challenges in this case. ECF 87-11, 164:9-165:12.

Florida’s theory that Defendants are violating a detention mandate hinges on an

argument that the word “shall” in section 1225(b) requires detention of this entire

population ECF 74 ¶¶79-80, 86. However, this argument ignores section 1226,

which also applies to noncitizens who have illegally crossed the border; section

1226(a) explicitly authorizes release in the discretion of the government. See 8

U.S.C. § 1226(a) (providing that DHS “may release the alien on” “bond” or

“conditional parole” without any standard); ECF 87-12, 147:16-148:15; ECF 87-13,

162:20-163:12; ECF 87-17, Nos. 3 & 4.




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      Second, there is no genuine factual dispute that grants of parole under 8 U.S.C.

§ 1182(d)(5)(A) are conducted on a “case-by-case” basis, with DHS officials

examining the particular circumstances of each noncitizen, and grant parole only for

an urgent humanitarian reason or significant public benefit. ECF 87-13, 31:10-18;

ECF 87-11, 149:2-151:24; ECF 87-14, 199:9-200:17; ECF 87-16, 58:9-22, 68:10-

69:3, 80:23-81:23, 83:20-84:12, 105:17-106:12. All relevant witnesses testified that,

even when limited detention capacity was a consideration in deciding to

conditionally release a noncitizen, DHS officers still examined the noncitizens’

particular circumstances in deciding to do so and in assigning the appropriate type

of monitoring. ECF 87-14, 115:15-22; ECF 87-11, 149:2-18; 188:17-189:12;

199:22-200:11; ECF 87-16, 68:10-69:3; ECF 87-13, 30:22-32:10.

      Similarly, despite claims to the contrary, DHS does not have a policy of non-

detention for all members of family units. Even absent family facilities, if detention

of a family-unit member is warranted due, for instance, to one of the family members

posing a national-security or public-safety threat, DHS detains that individual and

releases the family members not posing such a threat (with protections to ensure

intrafamilial communication and timely reunifications when warranted). ECF 87-16,

111:1-112:10; ECF 87-14, 220:14-221:11.

      Third, Florida’s claim that Defendants are “fail[ing] to serve charging

documents and initiate removal proceedings as required by law,” ECF No. 74 ¶108,


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is simply untrue. DHS policy and practice is to serve NTAs—both by mail and in

person—on all noncitizens conditionally released at the border without receiving an

NTA at that time. ECF 87-12, 125:18-128:10; ECF 87-13, 176:23-177:7.

      Florida’s arguments are also legally flawed.

      First, as discussed supra § II.B, nothing in section 1225(b)(1)-(2) overcomes

the “deep-rooted nature of law-enforcement discretion.” Castle Rock, 545 U.S. at

760-61. The fact that section 1225(b) uses the terms “shall ... detain[]” and “shall

order” does not constrain the government’s longstanding discretion to determine

whether commencement of removal proceedings is appropriate. See id. at 761.

      Second, sections 1225(b)(1)-(2) by their terms do not require initiating

removal proceedings and detention in all cases or within a particular timeframe.

Nothing in these provisions mandates the commencement of expedited or full

removal proceedings against all amenable noncitizens immediately upon encounter,

or at all. Matter of J-A-B- & I-J-V-A-, 27 I. & N. Dec. 168, 172 (BIA 2017) (section

1225(b)(1)); E-R-M-, 25 I. & N. Dec. at 523 (section 1225(b)(2)(A)). Rather, section

1225(b) “authorizes the Government to detain certain aliens” seeking admission to

the United States if it decides to remove them. See Jennings v. Rodriguez, 138 S. Ct.

830, 838 (2018); AADC, 525 U.S. at 483–84. The antecedent decision whether to

pursue removal is a separate, discretionary decision of the Secretary. See Arizona,

567 U.S. at 396; Crane, 783 F.3d at 249. Unless and until the Government charges


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and places noncitizens in expedited or full removal proceedings, section 1225(b)

does not require their detention. See id.; 8 U.S.C. § 1225(b)(1), (b)(2)(A). And even

once in proceedings, the INA permits noncitizens subject to section 1225(b) to be

released on parole under section 1182(d), and those subject to section 1226(a) to be

released on “bond” or “conditional parole,” 8 U.S.C. §§ 1182(d)(5)(A),

1226(a)(2)(A)-(B).

      Finally, section 1226(a) does not require a specific justification for release by

DHS, and the evidence shows that parole under section 1182(d)(5)(A) is granted

only a case-by-case basis for urgent humanitarian reasons or a significant public

benefit. Parole decisions may be premised in part on lack of detention space, but the

ultimate parole decision is still made based on the specific case-by-case assessment

of the individual’s circumstances. Supra, pp. 4-8.

      Longstanding regulations make clear that where “continued detention is not

in the public interest,” this can constitute an urgent humanitarian reason or

significant public benefit permitting parole on a case-by-case basis, provided there

is no security or flight risk. 8 C.F.R. § 212.5(b)(5). Notably, Florida does not

challenge this regulation. And for good reason: no administration since section 1225

was enacted has had sufficient funding, or has sought, to detain every noncitizen

applicant for admission who is potentially amenable to detention. ECF 87-12, 101:4-

13; Texas, 142 S. Ct. at 2535 (“DHS has never had sufficient detention capacity to


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maintain in custody every single person described in section 1225”). As a result,

every administration since the Illegal Immigration Reform and Immigration

Responsibility Act of 1996 has had to make decisions about how to use limited

detention space and recognized that the use of parole frees up limited detention

capacity for other, higher-priority noncitizens like criminals. See, e.g., ECF 87-18;

ECF 87-19; ECF 87-20. Notably, Courts also have accepted that consideration of

detention resources is appropriate in exercise of the parole authority. See Padilla v.

ICE, 953 F.3d 1134, 1145 (9th Cir. 2020), vacated on other grounds, 141 S. Ct. 1041

(2021); Jeanty, 204 F. Supp. 2d at 1377. To the extent the operations termed a “non-

detention policy” are even challengeable, they do not violate sections 1225, 1226 or

1182.

   B.    Count 3 (Arbitrary and Capricious)

        Florida argues that the alleged “non-detention policy” is arbitrary and

capricious under the APA because it ignores costs to states, is pretextual and

implemented in bad faith, fails to explain Defendants’ departure from prior practice,

does not “account for Florida’s reliance interests” nor address “lesser alternatives,”

and ignores the rate of absconding by noncitizens released. ECF 74 ¶¶87-94.

        The undisputed evidence establishes, however, that no “non-detention policy”

exists. Supra § III. Further, any operational activities that Florida contests, including

the reversible conversion of family facilities to single-adult detention, see ECF 87-


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15 at 12:12-13:3; ECF 87-12 at 52:15-21, 63:7-8, are not challengeable “agency

action” under the APA. Supra §§ II.A, III.

       Moreover, to the extent the Court concludes that DHS’s operational activities

and fluctuating resource allocations constitute a “policy,” Florida’s arguments still

fail on the merits. The arbitrary and capricious review standard is “exceedingly

deferential.” Sierra Club v. Van Antwerp, 526 F.3d 1353, 1360 (11th Cir. 2008). The

Court must uphold the agency’s conclusions “as long as its conclusions are rational.”

Miccosukee Tribe of Indians of Fla. v. United States, 566 F.3d 1257, 1264 (11th Cir.

2009). Florida cannot show that the agency failed to consider all appropriate factors,

or that its decisions are clearly irrational. See id.

       First, Defendants do consider the possible interests, of states and affected

communities and individuals, in their operational decisions. ECF 87-11 at 177:25-

180:6; 179:7-180:5. DHS actively discusses and considers “the impact to the states

of migration or migrants who are released, as well as the impacts to the

nongovernment organizations that … help service both the state as well as the

migrants [released into] those conditions[.]” ECF 87-11, 178:12-179:2; accord ECF

87-13, 74:1-10. DHS also considers, inter alia, whether each individual poses a

danger to the community, the states’ ability to absorb these individuals, the impact

of its practices—both detention and release—on the local communities hosting its

facilities, and the ability of both DHS itself and non-governmental organizations to


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provide essential relief and services to the migrants in their destination states. See,

e.g., ECF 87-16, 65:6-20, 68:18-25, 84:4-12, 112:1-10; ECF 87-13, 31:10-14, 37:13-

19, 39:19-22, 66:9-13, 91:16-19, 160:16-21; ECF 87-11, 188:17-189:12; ECF 87-

14, 123:1-7, 201:13-21.

      Second, there is nothing pretextual or in bad faith about Defendants’ current

posture of using family detention facilities for single adults, or of prioritizing

resources on electronic monitoring over obtaining more detention beds. DHS can

maximize the capacity of its detention facilities and allocate those facilities to single

adults, as that is the demographic that both is more amenable to expedited removal

(permitting their rapid removal) and otherwise requires more detention space. ECF

87-13, 141:7-142:2; ECF 87-14, 30:11-31:4; ECF 87-12, 67:6-20; 54:21-55:4; ECF

87-15, 12:12-13:3; ECF 87-12, 52:15-21, 54:5-16; 67:6-20; 144:15-146:6. DHS has

made additional operational changes such as building new facilities and funding

technology that permit it to process noncitizens faster, reducing the need for

detention space for processing, and to supervise more than ten times as many

noncitizens via ATD as it could detain. ECF 87-14, 120:1-121:1, 245:13-247:19;

ECF 87-13, 36:15-37:9; ECF 87-12, 143:3-16. Choosing between multiple

operational paths to accomplish its mission like this is a quintessential, and

unreviewable, act of agency discretion. Supra §§ II-III.




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         Third, the evidence shows that the agency considered alternatives regarding

its detention decisions. DHS examined (and tried) the alternative of detaining more

noncitizens before determining it could maximize enforcement via electronic

monitoring and other ATD. ECF 87-13, 36:15-37:9; ECF 87-12, 143:3-16. DHS also

reasonably decided that its detention resources were better spent holding single

adults than family units after experience with family detention. ECF 87-13, 141:7-

142:2.

         Fourth, DHS has explained its rationale for its current repurposing of family

centers for individuals, based on several factors including the greater volume of

individuals, the desire to maximize use of the space, and legal and logistic limitations

on housing families. ECF 87-13, 141:7-142:2; ECF 87-14, 30:11-31:4; ECF 87-12,

Price Dep. 67:6-20; 52:15-21, 54:21-55:4; ECF 87-15, 12:12-13:3. It also has

explained its rationale for focusing more of its resources on processing speed and

alternatives to detention, as these reduce the need for detention and impact a

considerably greater number of individuals. ECF 87-14, 120:1-121:1, 245:13-

247:19; ECF 87-13, 36:15-37:9; ECF 87-12, 143:3-16.

         Finally, DHS has considered and accounted for the rate at which noncitizens

might abscond if released. ECF 87-13, 142:16-19; ECF 87-1, SAR0255, 0272. DHS

has noted the rates of compliance are extremely high when ATD is employed, id.,

and for that reason has invested heavily in monitoring technology for (as well as


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prioritized its detention space for) those who might abuse release. ECF 87-14, 140:1-

12. A “policy” supported by such sensible considerations cannot be deemed arbitrary

and capricious.

   C. Count Five (Notice and Comment)

      Florida erroneously contends the alleged “non-detention policy” required

notice-and-comment rulemaking. ECF 74 ¶¶ 101-03. Even if the undisputed facts

showed that there was such a policy, the APA only requires notice and comment for

“rule making.” 5 U.S.C. § 533; see id. § 551(4)-(5) (defining “rule” and “rule

making”). Absent a “legislative rule,” which “creates new law, rights, or duties,”

notice-and-comment is not required. Warshauer v. Solis, 577 F.3d 1330, 1337 (11th

Cir. 2009). Florida has not identified, and there is no evidence of, any “rule” at issue

regarding DHS’s current posture of prioritizing resources for single-adult detention

or focusing funding on improved processing and expanded use of electronic

monitoring. Indeed, the APA expressly excepts “matter[s] relating to agency

management,” such as these challenges to management of DHS’s programs and

facilities, from “rulemaking.” 5 U.S.C. § 553(a)(2). The APA does not require notice




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and comment, or any other procedure, for the ground-level operational activities that

Florida challenges in this case. See Vill. of Bald Head Island, 714 F.3d at 193.

IV.     Parole+ATD Claims

   A. Count 2 (Violation of Law)

        Florida alleges that Parole+ATD is unlawful because it does not satisfy

section 1182(d)(5)(A)’s case-by-case and substantive requirements and therefore

violates section 1225(b)’s detention provision. ECF 74 ¶¶ 83-86. Florida challenges

both the November 2021 memorandum first describing Parole+ATD and the July

2022 memorandum that supplanted it. Id. ¶ 84.

        As an initial matter, Defendants’ official rescission of the November 2, 2021

memorandum and replacement with a new and different Parole+ATD memorandum

on July 18, 2022 moots Florida’s challenge to the November 2, 2021 iteration of the

program. See Keohane v. Fla. Dep’t of Corr. Sec’y, 952 F.3d 1257, 1267 (11th Cir.

2020), cert. denied, 142 S. Ct. 81 (2021). Only the July 2022 memorandum is a live

agency action subject to review here, as that memorandum expressly “rescinds and

replaces all prior guidance regarding the use of Parole+ATD, including but not

limited to the November 2, 2021, memorandum[.]” ECF 87-1, SAR0001. The July

2022 memorandum represents a new, distinct agency action because it looked at the

issue afresh and provided “several new reasons” for the policy, as well as altered




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parts of the practice and added additional aspects, ECF 87-1, SAR0003-0004,

“absent from the [earlier] memorandum.” See Texas, 142 S. Ct. at 2544.

      Florida’s claim that the July 2022 memorandum is unlawful also fails.6

Florida contends that the number of paroles alone indicates that the Government is

violating section 1182(d). ECF 74, ¶ 54. Section 1182(d)(5)(A) grants the DHS

Secretary full “discretion [to] parole into the United States” any applicant for

admission “temporarily under such conditions as he may prescribe only on a case-

by-case basis for urgent humanitarian reasons or significant public benefit[.]” 8

U.S.C. § 1182(d)(5)(A). Unlike many other provisions of the INA providing for

entry of noncitizens, this section places no numerical limit on the number of

individuals who may be paroled. Compare 8 U.S.C. § 1182(d)(5)(A) with 8 U.S.C.

§ 1157(a) (numerical limits on admission of refugees); 8 U.S.C. § 1184(p)(2)

(principal U-visas capped at 10,000 per year); 8 U.S.C. §§ 1151(c)(1), 1152,

1153(a)(1)-(4) (numerical caps on visas for family preference categories). The INA

thus permits DHS to parole in its sole discretion any number of applicants for

admission as long as they satisfy both the case-by-case and substantive elements of

section 1182(d)(5)(A).




6
  To the extent the Court finds the November 2021 memorandum still operative, all
Defendants’ arguments regarding the procedural and substantive validity of Parole+ATD
under the July 2022 memorandum equally pertain to the first memorandum.
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      The grants of parole authorized by the July 2022 memorandum satisfy this

standard. First, the guidance is clear in its requirement that enrollment in

Parole+ATD requires individualized, case-by-case determinations of urgent

humanitarian reasons and significant public benefit. ECF 87-1, SAR0002-0004.

While there are sector-specific capacity criteria that must be met before Parole+ATD

is authorized, these triggering criteria do not guarantee that any noncitizen in that

sector will be paroled. Whether release is appropriate must still be determined for

each individual on a case-by-case basis for urgent humanitarian reasons or

significant public benefit. ECF 87-1, SAR0003. “Parole+ATD may not be used for

noncitizens who, based on an individualized assessment, pose a national security

risk, unmitigable flight risk, public safety threat,” unaccompanied children, or are

likely subject to mandatory detention for criminal noncitizens. Id.

      As for parole’s substantive standard, the INA does not define “urgent

humanitarian reasons” or “significant public benefit.” Congress thus delegated to the

agency the role of adjudicating these terms. See Chevron, U.S.A., Inc. v. Nat. Res.

Def. Council, Inc., 467 U.S. 837, 842 (1984); New Mexico v. McAleenan, 450 F.

Supp. 3d 1130, 1175 n.5 (D.N.M. 2020) (Section 1182(d)(5)(A)’s “vague standard

conceivably encompasses a wide range of public benefits”). While the memorandum

does not limit the urgent humanitarian reasons or significant public benefits that may

justify use of Parole+ATD in each individual case, it provides that health and safety


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concerns associated with overcrowding, and hence the need to decompress facilities,

provide a significant public benefit and meet urgent humanitarian needs. ECF 87-1,

SAR0002-0003. The record establishes, for example, that many migrants and

officers in overcrowded BP detention facilities have contracted, and on several

occasions died from, COVID-19. ECF 87-1, SAR0101, 0114, 0116. Other health

and safety risks result from overcrowding.

      Defendants’ implementation of “significant public benefit” to include

preventing health and safety risks resulting from overcrowded detention facilities is

reasonable. See INS v. Aguirre-Aguirre, 526 U.S. 415, 424-425 (1999). The

applicable regulation and numerous authorities recognize the significant public

benefit in fighting the spread of disease, and ensuring public health generally.7 see,

e.g., 8 C.F.R. § 212.5(b)(1) (providing parole for noncitizens with “serious medical

conditions in which continued detention would not be appropriate”); Swain v.

Junior, 961 F.3d 1276, 1293 (11th Cir. 2020) (noting “it doubtlessly advances the

public interest to stem the spread of COVID-19”); Grand River Enterprises Six

Nations, Ltd. v. Pryor, 425 F.3d 158, 169 (2d Cir. 2005) (identifying the promotion

of “public health” as a “significant public interest[]”).




7
  To the extent detention capacity plays any role in this disease and death mitigation
rationale, regulation, precedent, and accepted agency practice have recognized the need to
prioritize limited detention space as a valid basis for parole. See supra § III.A.
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           The record thus defeats any argument that Parole+ATD represents an

unlawful use of parole under section 1182, and thereby violates section 1225(b).

      B.    Count 4 (Arbitrary and Capricious)

           Florida contends that Parole+ATD is arbitrary and capricious for numerous

reasons, all of which lack merit. ECF No. 74 ¶¶95-100. The agency’s conclusions

need only be “rational” to be upheld. Miccosukee Tribe, 566 F.3d at 1264. Florida

cannot meet this high bar for challenging Parole+ATD because DHS considered all

appropriate factors and aspects of the problem, and its justifications are rational. See

id.

           First, Florida argues that Parole+ATD fails to consider costs to states, reliance

interests, and lesser alternatives. But Florida has not identified any legally

cognizable reliance interests that DHS failed to consider. An agency generally must

consider only the reliance interests of a regulated industry or individual subject to

some unexpected civil or criminal liability by the challenged regulatory action—not

the interests of states or other third parties that might feel incidental effects. See, e.g.,

N.L.R.B. v. Bell Aerospace Co. Div. of Textron, 416 U.S. 267, 295 (1974).

Regardless, DHS considered the costs of the program to all affected parties and

interests, and determined that the costs were outweighed by the demonstrated

benefits of the program for achieving the agency’s enforcement mission by




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prioritizing its resources on those most likely to abscond or pose a danger. ECF 87-

1, SAR0252-0254, 0261-0270.

      DHS considered a range of interests related to Parole+ATD. Those include

the interests of its officers and workforce, the communities surrounding border

detention facilities, and the migrants themselves, especially in protecting individuals

against the spread of COVID-19. ECF 87-1, SAR0002-0004. DHS also considered

the communities to which released noncitizens will settle, by requiring biometric

and background screening for all Parole+ATD enrollees, and by refusing to release

anyone who poses a public-safety or national security threat. ECF 87-1, SAR0004.

Likewise, DHS considered and accounted for the communities surrounding ICE

offices where parolees will check in, by having CBP officers assist with charging

document issuance, and by engaging in NTA mailouts to reduce lines and backlogs

at those field locations. ECF 87-1, SAR0004, 0165-0169, 0179-251.

      DHS also considered several alternatives. Before revising the program in July

2022, DHS considered the cost and impact of continuing the program for 30, 60, or

90 days, or halting it immediately. ECF 87-1, SAR0261-0265. Further, the structure

of Parole+ATD itself requires that CBP reconsider ending it or continuing it only in

certain sectors every week. ECF 87-1, SAR0003-0004. The very fact that

Parole+ATD is currently authorized only in certain sectors reflects DHS’s careful

determination that the significant public benefit in preventing disease and death in


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crowded facilities outweighs the costs of the program in those areas. ECF 87-1,

SAR0002-0004, 0165. Finally, in each individual’s case where the Parole+ATD

guidance is applied, the CBP and ICE officers must consider several alternatives,

including detaining individuals or placing them on more restrictive monitoring. ECF

87-1, SAR0003-0004.

      Second, Florida argues that the July 2022 memorandum “fails to provide a

reasoned explanation.” The memorandum itself belies this claim and carefully

explains its basis in border-capacity conditions and public-health risks as discussed

supra. ECF 87-1, SAR0002-0004.

      Third, Florida argues that Defendants did not consider the possibility that

parolees would abscond, “whether to increase detention capacity or reopen family

detention centers,” and “whether the Parole+ATD policy is creating a perception

among potential migrants” that they will be released and thus “is exacerbating the

border crisis.” ECF 74, ¶98. Those arguments are refuted by the record to the extent

that they are even relevant.

      Defendants     carefully   considered   whether    noncitizens   released   on

Parole+ATD would abscond. DHS examined the rates of absconding and found that

enrolling parolees in ATD achieves very high compliance rates. ECF 87-1,

SAR0255, 0272 (93.2% compliance rate for single adults and 82% for family units

on ATD). Defendants further considered the small percentage for whom ATD would


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not prevent absconding and undertook an operation to mail or otherwise serve NTAs

on those who failed to check in. ECF 87-1, SAR0165-0169. Once served with an

NTA, noncitizens who fail to show for their removal proceedings generally will be

ordered removed in absentia. 8 U.S.C. § 1229a(b)(5)(A).

      Plaintiff’s arguments about increasing detention capacity, family detention,

and migrant pull factors fundamentally misunderstand the record and APA review.

First, DHS indisputably took detention capacity into consideration when formulating

Parole+ATD. ECF 87-1, SAR0002 (“Parole + ATD provides a processing

mechanism to address situations in which there is not appropriate detention space

available, and there are operational concerns about the number of people present in,

and potentially subject to a prolonged time-in-custody at, USBP facilities along the

Southwest border.”) Florida’s claims to the contrary have no basis in the record.

      Furthermore, under APA review, an agency need not expressly address every

conceivable factor, however tangential, but only “relevant factors.” Baltimore Gas

& Electric Co. v. NRDC, 462 U.S. 87, 105 (1983)). Parole+ATD was created to

adjust resources to migration flows. The policy is relied upon only when migration

flows reach certain limits within a certain sector. ECF 87-1, SAR0003. Although the

record does not explicitly discuss “pull factors,” the July 22 memorandum explicitly

accounts for and responds to the day-to-day flows at the border.




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      Fourth, Parole+ATD represents a valid use of section 1182(d)(5)(A). Supra

§ IV.A.

      Finally, the record defeats Florida’s unsupported assertion that “resource

constraints or the COVID-19 pandemic” justifications for Parole+ATD are

“pretextual.” Those concerns have a firm basis in fact. Parole+ATD is only

authorized on a weekly basis where there are “15,000 noncitizens in USBP custody

across all Southwest border sectors or a sector or centralized processing center’s in-

custody total exceeds 100% of its full capacity; and CBP has encountered more than

6,000 noncitizens per day across the Southwest border over a 72-hour period.”

SAR0003. Those conditions create “urgent crowding and excess time in custody

concerns” that cause significant resource constraints and increase the chance of

spread of contagious diseases. ECF 87-1, SAR0003.

      Meanwhile, the health concerns resulting from overcrowding are real and

consequential. See, e.g., ECF 87-1, SAR0101 (45 CBP employee deaths due to

COVID-19, 45 fully vaccinated employees testing positive); ECF 87-1, SAR01114

(97 BP employees and 22 detainees in isolation due to COVID-19 in RGV Sector

alone).

      Florida cannot show that DHS failed to consider all relevant factors or that its

conclusions and justifications for Parole+ATD are irrational. This claim fails.




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   C. Count 7 (Notice and Comment)

        Florida contends that Parole+ATD requires notice-and-comment rulemaking.

ECF 74 ¶¶ 104-106. But the notice-and-comment requirement does not apply to

“interpretative rules” or “general statements of policy.” Perez v. Mortg. Bankers

Ass’n, 575 U.S. 92, 96 (2015). Unlike legislative rules, such memoranda “simply

state[] what the administrative agency thinks the statute means”; they do not create

rights or duties but merely “remind[] affected parties of existing duties.” Warshauer,

577 F.3d at 1337. The difference “likely turns on how tightly the agency’s

interpretation is drawn linguistically from the actual language of the statute.” Id.

        The July 2022 memorandum is, at most, an interpretive rule or general

statement of policy. It offers guidance that directly tracks the language of section

1182(d)(5)(A): “on a case-by-case basis for urgent humanitarian reasons or

significant public benefit.” ECF 87-1, SAR0003; see Warshauer, 577 F.3d at 1337.

It does not create any rights or duties for the agency or noncitizens, or expand the

use of parole beyond the confines permitted under the statute. See id. It merely states

DHS’ understanding of the statute: that an “urgent humanitarian reason or significant

public benefit,” 8 U.S.C. §1182(d)(5)(A), can include considerations of health and

safety where certain detention crowding conditions are present. Such explanatory

guidance does not require notice-and-comment rulemaking. Warshauer, 577 F.3d at

1337.


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       Alternatively, the memorandum qualifies as a rule of “agency organization,

procedure, or practice,” 5 U.S.C. 553(b)(A), because it regulates the agency’s own

behavior without changing the substantive rights of parties outside the agency, see

Mendoza v. Perez, 754 F.3d 1002, 1023 (D.C. Cir. 2014).

V.     Count Eight (Constitutional Claim) Fails as a Matter of Law.

       Count 8 challenges the alleged “non-detention policy” and Parole+ATD under

the Take Care Clause (apparently informed by the separation of powers doctrine)

and a freestanding constitutional claim at equity challenging unlawful executive

action. ECF 74 ¶¶ 109-12. Both theories fail on the facts and the law.

       First, as explained, supra §§ III-IV, the undisputed facts establish that neither

the nonexistent “non-detention policy” nor Parole+ATD violate the law, and this

derivative constitutional claim therefore lacks any wrongdoing to challenge as

derelict or ultra vires.

       Second, neither theory is a viable cause of action. No court has directly held

that the Take Care Clause provides a private right of action. Brnovich, 2022 WL

4448322 at *13-14 (dismissing Take Care Clause claim in identical context); accord

Citizens for Responsibility & Ethics in Washington v. Trump, 302 F. Supp. 3d 127,

139 (D.D.C. 2018). Even were the Court to recognize such a cause of action, it could

only provide relief regarding ministerial duties where “nothing was left to

discretion” and there was “no room for the exercise of judgment.” State of


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Mississippi v. Johnson, 71 U.S. 475, 498 (1866); see Nat’l Treasury Emps. Union v.

Nixon, 492 F.2d 587, 608 (D.C. Cir. 1974). Ruling that DHS’s discretionary

enforcement decisions and resource prioritizations are unlawful as Florida alleges

would constitute impermissible “judicial interference with the exercise of Executive

discretion.” Johnson, 71 U.S. at 499; see Brnovich, 2022 WL 4448322 at *13-14.

      Equitable ultra vires relief is unavailable in a suit under the APA, which offers

its own version of this claim, 5 U.S.C. § 706(2)(B). The 1976 amendment to the

APA was intended “to eliminate the sovereign immunity defense in all equitable

actions for specific relief against a Federal agency or officer[,]” Presbyterian Church

(U.S.A.) v. United States, 870 F.2d 518, 525 (9th Cir. 1989), and thus “do away with

the ultra vires doctrine,” Geyen v. Marsh, 775 F.2d 1303, 1307 (5th Cir. 1985). See,

e.g., Locke v. Warren, No. 19-61056-CIV, 2019 WL 4805716, at *4 (S.D. Fla. Oct.

1, 2019) (collecting cases).

      Even were this claim still available, it does not encompass claims for

“injunctions requiring officials to act.” Simmat v. U.S. Bureau of Prisons, 413 F.3d

1225, 1233 (10th Cir. 2005). Granting relief here would require affirmative acts:

ordering the government to detain rather than release certain noncitizens on

Parole+ATD or requiring it to repurpose its detention space for family units or obtain

more detention space.




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                                   CONCLUSION

      For these reasons, the Court should grant summary judgment in Defendants’

favor on all claims.

Date: October 3, 2022                 Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I certify that this brief complies with Local Rule 7.1(F) and the Court’s order

permitting 11,000 words because, excluding parts of the document exempted by the

Rule, it contains 10,999 words.


                                              /s/ Joseph A. Darrow
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                         CERTIFICATE OF SERVICE

      I hereby certify that on October 3, 2022, I electronically filed the foregoing

document with the Clerk of the Court for the United States Court of for the Northern

District of Florida by using the CM/ECF system. Counsel in the case are registered

CM/ECF users and service will be accomplished by the CM/ECF system.

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